748 F.2d 803
    39 UCC Rep.Serv. 1335
    The NORTHERN TRUST COMPANY, Plaintiff-Appellant,v.The CHASE MANHATTAN BANK, N.A., Defendant-Appellee.
    No. 343, Docket 84-7505.
    United States Court of Appeals,Second Circuit.
    Argued Nov. 21, 1984.Decided Nov. 23, 1984.
    
      Laura Effel, New York City (Marianne Popiel, New York City, of counsel), for defendant-appellee.
      Michael C. Spencer, Cravath, Swaine &amp; Moore, New York City (Ralph L. McAfee, Richard F. Simmons, John Gleeson, New York City, of counsel), for plaintiff-appellant.
      Before KAUFMAN and TIMBERS, Circuit Judges and MISHLER, Senior District Judge.*
      PER CURIAM.
    
    
      1
      The Northern Trust Company, as drawee and purported drawer of a forged negotiable instrument, sought in the district court to recover monies paid to The Chase Manhattan Bank, N.A., as drawee of the instrument.  Judge Wyatt held that Northern Trust could not recover on the theory of money had and received, and had no cause of action for negligence or conversion.  Moreover, he held that the final payment rule, see N.Y. Uniform Commercial Code Sec. 3-418 (McKinney 1964), barred recovery by Northern Trust on theories of breach of warranty of presentment, breach of warranty on transfer and negligence.  582 F.Supp. 1380 (S.D.N.Y.1984).  We find appellant's claim of error to be without foundation, and affirm the judgment essentially for the reasons stated in Judge Wyatt's thorough opinion below.
    
    
      2
      Affirmed.
    
    
      
        *
         The Honorable Jacob Mishler, Senior District Judge, Eastern District of New York, sitting by designation
      
    
    